                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ERIN SKALDE and                              )
JARROD SKALDE,                               )
                                             )
      Plaintiffs,                            )   Case No. 3:20-cv-02039-JPW
                                             )
v.                                           )   Hon. Jennifer P. Wilson
                                             )
LEMIEUX GROUP, L.P.,                         )
PITTSBURGH PENGUINS L.P.,                    )
AND CLARK DONATELLI,                         )
                                             )
      Defendants.                            )

              DEFENDANTS’ PARTIAL MOTION TO DISMISS

      Defendants Pittsburgh Penguins L.P. and Lemieux Group, L.P. (collectively,

“the Penguins”), by and through their undersigned counsel, respectfully move this

Honorable Court, pursuant to Rule 12(b)(6) of the Federal Rule of Civil Procedure,

for an Order dismissing Plaintiff’s Complaint (Doc. 1).

      Plaintiffs fail to state a plausible claim against the Penguins for negligent

retention (Count III; Erin Skalde v. the Penguins), violations of the Pennsylvania

Whistleblower Law (“Whistleblower Law”) (Count IV; Jarrod Skalde v. the

Penguins), and loss of consortium (Count V; Jarrod Skalde v. the Penguins).

      The reason for this Motion to Dismiss are set out more fully in the

contemporaneously filed Memorandum of Law in Support of Defendants’ Partial

Motion to Dismiss.



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                           Respectfully submitted,

                           /s/ Lori Armstrong Halber
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                           Counsel for Defendants Lemieux Group, L.P.
                           and Pittsburgh Penguins L.P.

Dated: November 23, 2020




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                         CERTIFICATE OF SERVICE

      I, Lori Armstrong Halber, hereby certify that on this 23rd day of November,

2020, a true and correct copy of this Motion to Dismiss was filed electronically and

served upon the following counsel of record via the Court’s ECF system:

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                                    Defendant



                                                    /s/ Lori Armstrong Halber
                                                    Lori Armstrong Halber, Esquire
